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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

                                        )
 TROYCE MANASSA,                        )
                                        )
             Plaintiff,                 )
                                        )             Case No.: 1:20-cv-03172-RLY-MJD
             v.                         )
                                        )
 NATIONAL COLLEGIATE                    )
 ATHLETIC ASSOCIATION,                  )
                                        )
             Defendant.                 )
 ______________________________________ )


                     PLAINTIFF’S MOTION TO COMPEL DISCOVERY


        Plaintiff, Troyce Manassa, hereby respectfully moves the Court to compel Defendant,

 NCAA, to produce information and documents that are responsive to Plaintiff’s written discovery

 requests served in this litigation, in accordance with Fed. R. Civ. P. 37 (a)(2)-(3). The specific

 Plaintiff’s Requests for Production are Nos. 2, 3, 46, 49, and 51.

        In further support of Plaintiff’s Motion, Plaintiff incorporates herein and makes a part

 hereof Plaintiff’s Memorandum in Support of his Motion to Compel Discovery filed

 contemporaneously herewith, as required by Local Rule 7-1(b)(2). In addition, Plaintiff’s counsel

 hereby certifies that they have in good faith conferred with Defendant NCAA’s counsel in an effort

 to resolve the matter without necessitating a motion or requiring court action. However, the parties

 were unsuccessful in resolving the matter.
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        WHEREFORE, Plaintiff, Troyce Manassa, respectfully requests this Court to enter an

 order compelling discovery and providing all other just and proper relief.



 Dated: May 19, 2022                                  Respectfully submitted,

                                                      By: /s/ Je Yon Jung


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                                                      Class
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                                     CERTIFICATE OF SERVICE

        I hereby certify that on this 19th day of May 2022, a copy of the foregoing was

 electronically filed in the Court’s ECF system to which the following counsel are registered:

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                                                             By: /s/ Je Yon Jung
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